    Case: 1:20-cv-05589 Document #: 77 Filed: 01/11/24 Page 1 of 2 PageID #:1815




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CRYPTON FUTURE MEDIA, INC.,

                         Plaintiffs,
        v.                                              Case No. 20-cv-05589

                                                        Judge Mary M. Rowland
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS                            Magistrate Judge Jeffrey Cummings
 IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on January 28, 2021 [44], in favor

of Crypton Future Media, Inc. (“Plaintiff”) against the Seller Aliases in the amount of five hundred

thousand dollars ($500,000.00) per Defaulting Defendant for willful use of counterfeit Hatsune

Miku Trademarks in connection with the offer for sale and/or sale of products through at least the

Seller Aliases. Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

                         Defendant Seller Alias Schedule A Line No.
                               AnyCos                   51


       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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   Case: 1:20-cv-05589 Document #: 77 Filed: 01/11/24 Page 2 of 2 PageID #:1816




Dated this 11th day of January 2024.   Respectfully submitted,


                                       /s/ Martin F. Trainor
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                                          2
